                            UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF NEW MEXICO

IN RE:

Las Uvas Valley Dairies,
             Debtors.                                          No. 17-12356-t11



  UNITED STATES TRUSTEE’S LIMITED OBJECTION TO THE SECOND INTERIM
   APPLICATION FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
   REIMBURSEMENT OF EXPENSES AND COSTS BY ASKEW & MAZEL, LLC,
                COUNSEL FOR DEBTOR (DOCKET NO. 435)


      COMES NOW, the United States Trustee for the District of New Mexico, and

pursuant to 28 U.S.C. § 586(a)(3)(A) hereby submits this limited objection to the Second

Interim Application For Allowance and Payment of Compensation and Reimbursement

of Expenses and Costs By Askew & Mazel, LLC, Counsel for Debtor filed June 12, 2018

and as grounds states:

          1. Debtors’ counsel filed this Application for Compensation on June 12, 2018

(Docket No. 435) together with a Notice of Deadline to File Objections to the said

Application for Compensation on June 12, 2018 (Docket No. 436). The Deadline to

Object to the Application for Compensation is July 6, 2018.

         2.   The U.S. Trustee’s office has requested that Debtor In Possession’s

counsel provide their time and expense detail entries in electronic format pursuant to

NM LBR 2016-1(b), as this information had not been provided as required by the local

court rule. The U.S. Trustee’s office received counsel’s time and entry details in the

required electronic format on July 6, 2018.




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        3. Since the U.S. Trustee did not receive the electronic time and expense detail

entries in a timely manner, she has not had adequate time to review this fee application.

The U.S. Trustee reserves her right to file an objection after further review of the

electronic time and expense detail that is contemplated to be provided by debtors’

counsel.

      Wherefore, the United States Trustee requests that the Court grant this limited

objection to the Second Interim Application For Allowance and Payment of

Compensation and Reimbursement of Expenses and Costs By Askew & Mazel, LLC,

Counsel for Debtor filed June 12, 2018 and allow the U.S. Trustee additional time to

review the Debtor’s counsel’s Second Interim Application, and for such other and further

relief as the Court deems just.

                                           Respectfully submitted,

                                           Ilene J. Lashinsky
                                           United States Trustee

                                           s/ electronically filed 7/6/2018
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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above pleading was filed electronically on July
6, 2018. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt, including the following
parties. Parties may access this filing through the Court’s system. I additionally certify
that a copy of this document was provided, via USPS, postage prepaid to the below
mentioned individual on July 6, 2018.

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/s Alice Nystel Page
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